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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
 ------------------------------------ X
                                      :
 CHARLES MICHAEL KEE,                 :                16cv5002 (DLC)
                                      :
                      Petitioner,     :                03cv9067 (DLC)
                                      :
                -v-                   :                 98cr778 (DLC)
                                      :
 UNITED STATES OF AMERICA,            :
                                      :                     ORDER
                      Respondent.     :
                                      :
 ------------------------------------ X

DENISE COTE, United States District Judge:

     On June 23, 2016, Charles Michael Kee (“Kee”) filed a

petition pursuant to 28 U.S.C. § 2255 (the “2016 Petition”) to

vacate a portion of his sentence due to the Supreme Court’s

decision in Johnson v. United States, 135 S. Ct. 2551 (2015),

which addressed the constitutionality of the residual clause in

the definition of a crime of violence in the Armed Career

Criminal Act (“ACCA”).    In July 2016, this Court transferred the

2016 Petition to the Court of Appeals for the Second Circuit for

treatment as a successive habeas petition.        The 2016 Petition

was then stayed for years due to proceedings in the Supreme

Court and the Court of Appeals for the Second Circuit on the

legal issue raised in the 2016 Petition.

     On March 11, 2020, the Court of Appeals lifted the stay and

granted Kee leave to file a successive petition challenging his

conviction under 18 U.S.C. § 924(c) predicated on conspiracy to
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commit murder.     Kee, proceeding pro se, supplemented the 2016

Petition with a memorandum of July 24.        On August 4, Kee

requested the appointment of counsel to assist him in making his

successive § 2255 petition.     On August 9, Kee, still proceeding

pro se, submitted another memorandum in support of his

successive petition.     Accordingly, it is hereby

     ORDERED that C.J.A. counsel on duty this date, Samidh Guha,

is appointed to represent the defendant in making this petition.

     IT IS FURTHER ORDERED that Kee’s brief in support of his

successive petition shall be filed by December 18, 2020.           The

Government shall submit any response by February 19, 2021.

Kee’s reply, if any, shall be filed by March 19.

     IT IS FURTHER ORDERED that the Clerk of Court shall notify

the Criminal Division of the U.S. Attorney’s Office for the

Southern District of New York that this Order has been issued.

     IT IS FURTHER ORDERED that all further papers filed or

submitted for filing must include the criminal docket number and

will be docketed in the criminal case.

     SO ORDERED:

Dated: New York, New York
       October 20, 2020

                                                 DENISE COTE
                                        United States District Judge




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